The argument presented here in support of respondent's demurrer should have been addressed to the Court of Common Pleas upon the appeal under Section 1465-90, General Code. The matter is now res judicata. Respondent's demurrer is overruled. *Page 254 
What has been said in the case of State, ex rel. Moore, v.Industrial Commission, ante, 241, this day decided, applies equally to the facts in this case.
It follows, therefore, that a peremptory writ of mandamus should issue commanding respondent to pay to the relatrix not less than the minimum amount fixed by paragraph 2 of Section 1465-82, General Code, and in the manner provided in the first two paragraphs of Section 1465-83, General Code.
Writ allowed.
WEYGANDT, C.J., MATTHIAS, HART, ZIMMERMAN, BELL and WILLIAMS, JJ., concur.